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 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK
 ------------------------------------X
 CAREMARK, L.L.C., CAREMARKPCS,
 L.L.C., CAREMARK IPA, L.L.C.,
 SILVERSCRIPT INSURANCE COMPANY, and
 AETNA, INC.

                      Petitioners,
                                                              MEMORANDUM AND ORDER
               - against -
                                                                23 Civ. 8508 (NRB)
 NEW YORK CANCER & BLOOD SPECIALISTS,

                Respondent.
 ------------------------------------X
 NAOMI REICE BUCHWALD
 UNITED STATES DISTRICT JUDGE

       Petitioners      Caremark,       L.L.C.,    CaremarkPCS,         L.L.C.,       and

Caremark      IPA,    L.L.C.    (collectively,       “Caremark”)        serve     as    a

pharmacy benefit manager (“PBM”) for numerous Medicare Part D plan

sponsors, including petitioners SilverScript Insurance Company and

Aetna, Inc. (together with Caremark, “petitioners”).                       Respondent

New York Cancer & Blood Specialists (“NYCBS”) is a medical practice

that    provides     oncology    treatments       and,   in    certain     locations,

dispenses oncological medications to its patients.                       To dispense

such medications to its patients who are Medicare beneficiaries,

NYCBS entered into agreements with Caremark and joined several of

its    Part   D    pharmacy     networks.         Over   the     course     of    their

relationship,        Caremark   began    to   assess     fees    on   NYCBS      if   its

patients did not adhere to taking oncology drugs prescribed to
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them, even if the continued use of these highly toxic medications

posed health risks to the patients.


       Pursuant        to   the    parties’      agreement,     NYCBS    filed       an

arbitration demand against petitioners, challenging the assessment

of these fees as well as the broader program through which these

fees were assessed.             The arbitration panel eventually found in

favor of NYCBS, awarding it $17,082,162, based on the panel’s

conclusion that “the application of [Caremark’s] program to NYCBS

was unreasonable and unreliable” and could be “remedied only by a

full    return    of    [the]     fees”   that    NYCBS   was   required   to      pay.

Petitioners thereafter filed this petition to vacate the panel’s

arbitration award.          NYCBS has cross-moved to confirm the award.

For the following reasons, we deny petitioners’ petition to vacate,

grant NYCBS’s cross-motion, and confirm the arbitration award.


                                     BACKGROUND


A.     Legal Framework


       Before turning to the facts at hand, a brief overview of the

legal framework underlying this dispute is necessary.                      We begin

with Medicare, the federal government’s health insurance plan for

the elderly and certain persons with disabilities.                   See 42 U.S.C.

§ 1395 et seq.          Medicare beneficiaries receive prescription drug


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benefits through Medicare Part D (“Part D”).                         See id. § 1395w-101

et seq.     To provide Part D benefits to enrollees, the Center of

Medicaid and Medicare Services (“CMS”) contracts with private

health insurers, known as Part D plan sponsors (“Plan Sponsors”),

which,    in    turn,       offer       prescription        drug     plans     to   Medicare

beneficiaries.         See United States, ex rel. Fox Rx, Inc. v. Dr.

Reddy’s Inc., No. 13 Civ. 3779 (DLC), 2014 WL 6750786, at *2

(S.D.N.Y. Dec. 1, 2014).


     Although        Plan     Sponsors,         which    are   often       large    insurance

companies,     offer     Part       D    prescription        drug    plans     directly       to

beneficiaries,         the     Plan           Sponsors     frequently        delegate        the

administration of those plans to in-house or third-party pharmacy

benefit managers (“PBMs”) with the intent of “keep[ing] costs of

prescription          medications             manageable.”             In      re    Express

Scripts/Anthem ERISA Litig., 285 F. Supp. 3d 655, 663 (S.D.N.Y.

2018).    “Generally speaking, PBMs serve as intermediaries between

prescription-drug        plans          and    the    pharmacies     that     beneficiaries

use.”     Rutledge v. Pharm. Care Mgmt. Ass’n, 592 U.S. 80, 83-84

(2020).     In this role, PBMs “contract with pharmacies, negotiate

discounts      and    rebates       with        drug     manufacturers,        review       drug

utilization,         manage    drug           formularies,     and     process      and     pay

prescription drug claims.”                In re Express Scripts, 285 F. Supp. 3d



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at 663.    For example, when a customer goes to a pharmacy to fill

a prescription, the pharmacy is reimbursed by a PBM, which, in

turn,   seeks    reimbursement       from    the     Plan    Sponsor       ultimately

responsible     for   the   customer’s      prescription         drug   plan.       See

Rutledge, 592 U.S. at 84.


     In    addition    to   administering      prescription         drug    plans    on

behalf of Plan Sponsors, PBMs often create networks of pharmacies

through which members can purchase medications at covered or

discounted rates.      See Park Irmat Drug Corp. v. Optumrx, Inc., 152

F. Supp. 3d 127, 130 (S.D.N.Y. 2016).               To gain access to a PBM’s

network,    pharmacies      either   negotiate       with    a   PBM    directly    or

contract    with      third-party     Pharmacy        Services      Administrative

Organizations (“PSAOs”) that negotiate and contract with PBMs on

the pharmacies’ behalf.        See id.      With this framework, we now turn

to the facts before us.


B.   Factual Background


     NYCBS is a medical practice that provides, among other things,

oncology treatments to nearly a million patients a year at more

than thirty oncology locations.          See Declaration of Neil P. Diskin

(“Diskin Decl.”), ECF No. 18, Ex. 11 (“Vacirca Dep. II”) 16:2-19.

Six of these locations dispense oncological medications to NYCBS



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patients, many of whom are Medicare beneficiaries.              Diskin Decl.,

Ex. 2 (“Vacirca Dep. I”) 14:21-15:6, 22:2-5.


      Caremark serves as a PBM for thousands of insurers, including

commercial health plans, self-insured employer plans, and, as

relevant    here,   Part    D   Plan   Sponsors,    including     petitioners

SilverScript and Aetna.         Diskin Decl., Ex. 1 (“Arbitration Tr.”)

721:4-9, 1402:19-1403:4.         Caremark has around 68,000 pharmacies

enrolled in its various networks, including the NYCBS-affiliated

dispensaries.     Diskin Decl., Ex. 13 (“Hutchins Dep.”) 31:19-23.


      To distribute oncology medication to its Medicare patients,

NYCBS entered into a Provider Agreement with Caremark for each of

its dispensaries. 1      Vacirca Dep. I 22:10-23:3; see also Diskin

Decl., Exs. 3-4, 7-10.          Each Provider Agreement incorporates by

reference the Provider Manual.           See, e.g., Diskin Decl., Ex. 3

¶ 11. Merely signing the Provider Agreement does not automatically

give providers like NYCBS access to all of Caremark’s pharmacy

networks.    See Declaration of Jonathan E. Levitt (“Levitt Decl.”),

ECF. No. 39, Ex. A (“Interim Award”) at 2; ECF No. 17 (“Pet.”) at

4.   Rather, to join specific networks, providers must agree to



1 As respondents note, Arizona law governs the contractual relationship for
certain NYCBS-affiliated dispensaries while New York law governs the contractual
relationship for the remaining dispensaries. See ECF No. 17 (“Pet.”) at 4.


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Network    Enrollment       Forms    (“NEFs”),       which        set    forth      the

reimbursement terms and conditions for each particular network.

Vacirca Dep. II 44:1-45:19; Diskin Decl., Ex. 12 (“NYCBS NEFs”).

Here, NYCBS retained a PSAO, Amerisource Bergen Drug Corporation

(“Elevate”), to enroll it in the Part D networks and represent it

in    interactions   with    Caremark      regarding     the      NEFs    at   issue.

Arbitration Tr. 247:5-9, 277:7-22.


       In 2016, Caremark established a Performance Network Rebate

Program   (the   “PNR   program”)     pursuant     to   which      the    amount     of

Caremark’s reimbursement to providers of Medicare Part D drugs

like NYCBS became contingent on the provider’s performance.                         Id.

1254:3-22.    The purpose of the PNR program, in Caremark’s words,

was to “recognize pharmacies for their performance.”                    Id. 1254:13-

18.    Under this regime, Caremark began to assess providers direct

and   indirect   remuneration       fees   (or   “PNR   fees”)      based      on   its

performance score.      See id.; Diskin Decl., Ex. 12-A at 30-31.                   The

higher a provider scores in the PNR program, the lower the PNR

fees it must pay to Caremark, and vice versa.                     Arbitration Tr.

257:8-258:13, 1254:16-22.       Regardless of a provider’s performance,

under the PNR program, a provider must always pay Caremark some

amount of PNR fees.     That is, even if a provider receives a perfect

performance score, it is still assessed the minimal amount of PNR



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fees as set forth in the provider’s agreement with Caremark. 2                See

id. 257:23-258:10; Vacirca Dep. II 58:5-59:23.


      Calculation of a provider’s PNR program score is complex and

has changed over time.         From the outset, the performance score

depended on factors such as medication adherence and gap theory.

See Diskin Decl., Ex. 15-B at 2.              In 2018, however, Caremark

introduced a new metric called “specialty medication adherence”

that is at the heart of this dispute.          See Diskin Decl., Ex. 25 at

12.    This new component utilizes a medication possession ratio

(“MPR”), which is intended to measure patients’ adherence in taking

“specialty drugs,” including oncology drugs, that were prescribed

to them.    Id. at 15; see also Interim Award at 4.             One potential

concern with this measure, as will be discussed below, is that the

high toxicity associated with oncology medication may require a

pause or discontinuance to avoid serious adverse effects for the

patients. See Interim Award at 12. However, the clinical decision

to pause or discontinue the use of these drugs to protect patients’


2 Notably, whatever the amount, the PNR fees are not paid up front. Rather,
once Caremark calculates a provider’s score in the PNR program, it retroactively
collects the PNR fees by withholding the provider’s reimbursements in an amount
corresponding to its PNR program score. See Diskin Decl., Ex. 12-A at 30-31.
For example, Caremark may calculate a provider’s performance score for the
period between January and August but not collect or recoup those fees until
November of that year, effectively clawing back money that had already been
reimbursed to the provider. See id.; see also Vacirca Dep. I 16:12-19 (stating
that Caremark “claws back money” from NYCBS “usually six to nine months
[later]”).


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safety could result in a lower PNR program score, which would

require the provider to pay Caremark higher PNR fees.                        See id.

The specialty medication adherence component had a significant

impact    on   NYCBS   given    that   its    dispensaries          only   prescribe

specialty oncology drugs.         See Arbitration Tr. 94:9-22.               Indeed,

between 2016 and the date of the final arbitration hearing, NYCBS

had been assessed $17,082,162 in PNR fees.                Interim Award at 30.


C.     Procedural History


     1. Arbitration Demand


       On October 10, 2019, NYCBS filed a Demand for Arbitration

with     the   American    Arbitration       Association         (“AAA”)     against

petitioners      Caremark,      SilverScript,          and     Aetna,      primarily

challenging Caremark’s PNR program and PNR fee assessment.                         See

Diskin Decl., Ex. 41 (“Third Am. Statement of Claims”).                       In its

third and final amended statement of claims, NYCBS asserted nine

causes of action, namely: (1) violation of the federal Any Willing

Provider Law (“AWPL”), 42 U.S.C. § 1395w-104(b)(1)(A), 42 C.F.R.

§ 423.505(b)(18); (2) violation of New York Public Health Law

§ 4406-c; (3) improper assessment of PNR fees on inapplicable

claims;    (4)   breach   of    contract     for     assessing      PNR    fees;   (5)

violation of the federal Prompt Pay Law; (6) failure to properly



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measure    NYCBS’s   performance    scores    (asserted    against    Caremark

alone); (7) breach of implied covenant of good faith and fair

dealing; (8) conversion; and (9) unjust enrichment.                 Id. ¶¶ 90-

166.     As for relief, NYCBS requested, among other things, (1) a

declaration that Caremark’s imposition of PNR fees is a breach of

the parties’ agreement; (2) a declaration that Caremark’s PNR

program is unconscionable and thus unenforceable; (3) compensatory

and consequential damages in an amount up to $16,000,000; and (4)

“[s]uch other relief deemed just and proper.”             See id.


  2. Order No. 7


       To resolve several preliminary issues, the parties agreed to

file omnibus motions.           See Interim Award at 4-5.            Following

briefing and oral argument on those motions, the arbitration panel

(the “Panel”) held, in relevant part, that (1) the AWPL applies to

all three petitioners; (2) NYCBS may maintain a cause of action

for a claimed violation of the AWPL; (3) the parties’ agreement

constituted a contract of adhesion; and (4) NYCBS is properly

considered one dispensing pharmacy that may consolidate its claims

into a single arbitration.         See Diskin Decl., Ex. 27 (“Order No.

7”) at 6-12.




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    3. Arbitration Award


       The Panel held a five-day hearing beginning on April 3, 2023,

during which ten witnesses testified.                 See Interim Award at 7,

34.    On June 28, 2023, the Panel issued a 34-page Interim Award

finding in favor of NYCBS on the bulk of its claims. 3                   See id. at

30-32.    In relevant part, the Panel concluded that Caremark’s MPR

method for scoring patient adherence to oncology drugs was not

“reasonable and relevant” in violation of both the AWPL and the

parties’ agreement.      Id. at 14.        As the Panel explained, witness

testimony demonstrated that by utilizing the MPR to calculate

NYCBS’s    performance      score      under   the     PNR    program,      Caremark

“disregarded     the   inherent     nature     of    oncology      medications”     by

erroneously “assum[ing] that cancer patients will remain on drugs

for   a   full   calendar      year”    despite     that     the   “high    toxicity

associated with such drugs may require a pause or discontinuance

to avoid serious adverse effects.”              Id. at 12.         In other words,

“Caremark would deem the clinical decisions to hold or discontinue

the [oncology] drugs to protect the patient’s safety and quality

of life/care as non-compliant and collect PNR fees” on that basis.

Id.    On these findings, the Panel concluded that the application


3 The Panel’s award was only an interim award because it did not address
attorneys’ fees, which were addressed later in a final award that incorporates
the interim award in full. See Diskin Decl., Ex. 23.


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of the MPR was not “reasonable and relevant” and thus contravened

the AWPL’s requirements and the parties’ contractual obligations. 4

Id. at 14.


      Additionally, the Panel sustained NYCBS’s unjust enrichment

claim because Caremark both misrepresented the terms of the PNR

program and failed to deliver any bargained-for consideration to

support the contract.      Id. at 26-29.    As to the misrepresentation,

the premise of the PNR program was to reward NYCBS for good

performance, but petitioners “knew that [they] could not develop

criteria that [would] consistently and fairly measure adherence.”

Id. at 26 (cleaned up).           Moreover, the Panel concluded that

petitioners “understood that there was nothing NYCBS could do to

improve its adherence score” but never informed NYCBS of this

material fact.      Id.    Indeed, the Panel found that petitioners

still, “to this day,” have not provided NYCBS the full details of

the MPR calculation.         Id. at 27.     One Caremark executive even

referred to the MPR formula in his deposition as a “secret sauce.”



4 The Panel also found that petitioners’ use of mean imputation to score
adherence to non-specialty drugs violated the AWPL’s “reasonable and relevant”
standard and breached the parties’ agreement. Interim Award at 14-17. As the
Panel explained, “[m]ean imputation occurs when Caremark assigned pharmacies
without any claims in non-specialty categories [such as NYCBS] an average
performance score of other network pharmacies which had non-specialty claims.”
Id. at 14.   Accordingly, “there was nothing NYCBS could do to increase its
adherence score in the non-specialty category,” which the Panel deemed neither
“reasonable [nor] relevant.” Id. at 15-16.


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Id. at 12.    As the Panel summarized, petitioners “unfairly [tied]

both of NYCBS’ hands behind its back and [took] advantage of NYCBS’

(and other providers’) ignorance regarding how performance would

be measured.”       Id. at 28.


     With respect to the lack of consideration, the Panel explained

that “the consideration Caremark promised was financial reward

tied to accurately measured individual performance,” but such

bargained-for consideration “was not delivered.”                     Id. at 29.       To

the contrary, the only consideration that petitioners actually

delivered “was a financial reward based on a flawed measurement

criteria that, among other things[,] ignored the goal of promoting

quality care for beneficiaries.”               Id.    According to the Panel,

petitioners’ failure to deliver the bargained-for consideration

“eviscerate[d] the very foundation of the contract, the basis for

inducing NYCBS’ agreement.”          Id.


     In light of these and other conclusions, the Panel awarded

restitution     to    NYCBS    in    the   amount      of    $17,082,162,       which

represented the full amount of PNR fees that NYCBS paid petitioners

between 2016 and the date of the final arbitration hearing.                          Id.

at 30-31.    The Panel explained that “the application of the [PNR]

program to NYCBS was unreasonable and unreliable” and could be

“remedied    only    by   a   full   return    of    PNR    fees.”      Id.   at     31.


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Furthermore, the Panel found that such an award was consistent

with AAA Rule 47, which authorized the Panel to grant relief that

it deemed “just and equitable.”           Id.


       On September 19, 2023, the Panel issued its final award, which

fully adopted and incorporated the interim award.                       See Diskin

Decl., Ex. 23.


    4. The Petition


       On September 27, 2023, petitioners filed the instant petition

to vacate the Panel’s award, which found in favor of NYCBS on the

majority of its claims.        ECF No. 1.       In support of their petition,

petitioners filed a memorandum of law and a voluminous record

spanning thousands of pages that included a significant portion of

the    evidentiary     record     and     briefing      from      the   underlying

arbitration. 5    See ECF Nos. 17-18.            On October 27, 2023, NYCBS

filed an opposition to the petition to vacate and a cross-motion

to confirm the Panel’s award.             See ECF Nos. 34-35, 38-39.              On



5 Prior to filing their petition to vacate, petitioners filed a motion for leave
to file the case under seal; or, in the alternative, to seal petitioners’
memorandum of law in support of their petition to vacate, as well as the
evidentiary record and briefing from the arbitration; or, in the second
alternative to redact proprietary information from the initiating documents in
this matter. See No. 23-mc-351 (AS), ECF No. 1-1. After the parties fully
briefed that motion, on November 30, 2023, the Court issued a Memorandum and
Order denying petitioners’ request and unsealing the case in its entirety. See
ECF No. 11.


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November 13, 2023, petitioners filed a reply in further support of

their petition to vacate and an opposition to NYCBS’s cross-motion

to confirm the arbitration award.              See ECF Nos. 46-48.        Finally,

on November 20, 2023, NYCBS filed a reply in further support of

its cross-motion to confirm the award.              See ECF No 67.


                                   DISCUSSION


        Because there is both a petition to vacate and a cross-motion

to confirm the arbitration award, we will address each of them

separately, beginning first with petitioners’ petition to vacate.


A. Petition to Vacate


        “Vacatur     of    arbitral     awards    is    extremely      rare,       and

justifiably so.”          Hamerslough v. Hipple, No. 10 Civ. 3056 (NRB),

2012 WL 5290318, at *3 (S.D.N.Y. Oct. 25, 2012).                   “To interfere

with the [arbitration] process would frustrate the intent of the

parties, and thwart the usefulness of arbitration, making it the

commencement, not the end, of litigation.”                 Duferco Int’l Steel

Trading Co. v. T. Klaveness Shipping A/S, 333 F.3d 383, 389 (2d

Cir.     2003)     (quotations   omitted).        As    such,     “[i]t   is      well

established that courts must grant an arbitration panel’s decision

great deference.”         Id. at 388.




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     Petitioners raise three distinct grounds to support their

petition to vacate the arbitral award.         Specifically, petitioners

argue that the Panel (1) exceeded its authority by awarding NYCBS

damages “that violated the plain terms of the parties’ contract

and exceeded NYCBS’s reasonable expectations,” (2) violated public

policy in finding that NYCBS was a “pharmacy” within the meaning

of the AWPL, and (3) manifestly disregarded the law in numerous

respects, including for several of the same reasons that the Panel

purportedly exceeded its authority and violated public policy.

ECF No. 17 (“Pet.”) at 12-13.          We will address each of these

arguments in turn.


  1. Panel Exceeded Authority


     The Federal Arbitration Act (“FAA”), 9 U.S.C. § 1 et seq.,

“creates a body of federal substantive law of arbitrability,

applicable to any arbitration agreement within the coverage of the

Act.”   PaineWebber Inc. v. Bybyk, 81 F.3d 1193, 1198 (2d Cir. 1996)

(quotations omitted).        Section 10(a) of the FAA provides four

grounds upon which a federal court may vacate an arbitral award:


     (1) where the award was procured by corruption, fraud, or
     undue means; (2) where there was evident partiality or
     corruption in the arbitrators, or either of them; (3) where
     the arbitrators were guilty of misconduct in refusing to
     postpone the hearing, upon sufficient cause shown, or in
     refusing to hear evidence pertinent and material to the


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     controversy, or of any other misbehavior by which the rights
     of any party were prejudiced; and (4) where the arbitrators
     exceeded their powers, or so imperfectly executed them that
     a mutual, final, and definite award upon the subject matter
     submitted was not made.

9 U.S.C. § 10(a)(1)-(4).


     Of the four statutory grounds for vacatur, petitioners rely

solely upon the fourth, which provides that the court may vacate

an award “where the arbitrators exceeded their powers.”                 9 U.S.C.

§ 10(a)(4).    The Second Circuit has “consistently accorded the

narrowest of readings to the FAA’s authorization to vacate awards

pursuant to § 10(a)(4).”          T.Co Metals, LLC v. Dempsey Pipe &

Supply,   Inc.,   592   F.3d   329,    342   (2d   Cir.   2010)     (quotations

omitted). When deciding whether an arbitrator exceeded his powers,

the inquiry “focuses on whether the arbitrators had the power,

based on the parties’ submissions or on the arbitration agreement,

to reach a certain issue, not whether the arbitrators correctly

decided that issue.”      Banco de Seguros del Estado v Mut. Marine

Off., Inc., 344 F.3d 255, 262 (2d Cir. 2003).


     “As long as the arbitrator is even arguably construing or

applying the contract and acting within the scope of his authority,

that a court is convinced he committed serious error does not

suffice to overturn his decision.” United Paperworkers Int’l Union

AFL-CIO v. Misco, Inc., 484 U.S. 29, 38 (1987).                Indeed, “[i]t is


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not enough for petitioners to show that the panel committed an

error   --    or     even   a   serious    error.”     Stolt-Nielsen        S.A.     v.

AnimalFeeds Int’l Corp., 559 U.S. 662, 671 (2010).                   Rather, “[i]t

is   only     when    an    arbitrator     strays    from   interpretation          and

application of the agreement and effectively dispenses his own

brand    of     industrial       justice     that     his    decision       may      be

unenforceable.”         Id. (quotations and alterations omitted).                   In

short, the court will uphold an arbitral award if the arbitrator

offers even a “barely colorable justification” for the outcome

reached.      ReliaStar Life Ins. Co. of N.Y. v. EMC Nat’l Life Co.,

564 F.3d 81, 86 (2d Cir. 2009).


      Here,    petitioners        contend    that    the    Panel    exceeded       its

authority by awarding NYCBS what they call “windfall damages” of

$17,082,162, which was a full return of all PNR fees NYCBS had

paid since 2016.        Pet. at 13-15.       Specifically, petitioners argue

that when NYCBS agreed to the terms of Caremark’s PNR program, it

“knew it would pay some PNR [fees]” even if NYCBS received the

highest possible performance scores.                 Id. at 13.          Therefore,

according to petitioners, any damages should have been limited to

the difference between the PNR fees actually paid and the fees

that NYCBS would have paid had it received the highest possible

performance scores (i.e., the minimum required PNR fee).                     Id.    In



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petitioners’ view, by awarding NYCBS all the PNR fees it paid

Caremark since 2016, the Panel “ignore[d] the parties’ contract”

and thus exceeded its authority.        Id.       For the reasons set forth

below, petitioners’ argument is unavailing.


     As an initial matter, it is worth noting that NYCBS did not

merely challenge the specific rate at which its PNR fees were being

assessed by Caremark.        Rather, NYCBS challenged the entire PNR

program   (and   its   corresponding        PNR   fees)    as    unlawful       and

unenforceable.   Indeed, NYCBS’s third amended statement of claims

expressly sought a declaration “that Caremark’s [PNR] Program is

unconscionable and therefore unenforceable.”              Third Am. Statement

of Claims at 35.    Lest there any doubt, NYCBS also sought damages

up to $16,000,000, which, at the time, reflected the full amount

of PNR fees it paid since 2016 as a result of Caremark’s PNR

program, not just the amount NYCBS would have paid had it been

subject to lowest possible fee permitted under the program.                     See

id. at 36.   The Panel held in favor of NYCBS and refused to enforce

any of the terms of the PNR program in part because Caremark failed

to deliver the bargained-for consideration and thus “eviscerate[d]

the very foundation of the contract.”                Interim Award at 29.




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Accordingly, the Panel concluded that the “only” adequate remedy

was an equitable one: “a full return of PNR fees.”             Id. at 31. 6


      In reaching this conclusion and awarding NYCBS the full amount

of PNR fees as damages, the Panel acted well within the scope of

its authority.     When deciding whether an arbitrator exceeded the

scope of his powers, the court need only determine that the

arbitrator had the authority to decide the issue.             See DiRussa v.

Dean Witter Reynolds Inc., 121 F.3d 818, 824 (2d Cir. 1997).                  In

this particular context of damages awarded by arbitrators, the

question is not whether the Panel “properly awarded these damages

in the case at bar” but rather whether the parties’ arbitration

agreement entrusted the Panel to “award [the disputed type of]

damages generally.”     Westerbeke Corp. v. Daihatsu Motor Co., Ltd.,

304 F.3d 200, 220 (2d Cir. 2002); see also Fellus v. Sterne, Agee

& Leach, Inc., 783 F. Supp. 2d 612, 618-19 (S.D.N.Y. 2011) (“A

party cannot successfully argue that the arbitrators exceeded

their authority to award damages where the party did not dispute

the arbitrators’ authority to award damages generally, but only

that they did not properly award damages under the specific facts


6 It bears noting that Federal Rule of Civil Procedure 54(c) allows a court to
“grant any relief to which a prevailing party is entitled, whether or not that
relief was expressly sought in the complaint.” Powell v. Nat’l Bd. of Med.
Exam’rs, 364 F.3d 79, 86 (2d Cir. 2004), opinion corrected, 511 F.3d 238 (2d
Cir. 2004).


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of the case.”).       Put simply, our inquiry turns solely on whether

the parties’ arbitration agreement permitted the arbitrators to

award the form of damages that petitioners now contest.


      “Where an arbitration clause is broad, arbitrators have the

discretion to order such remedies as they deem appropriate.”

ReliaStar,     564    F.3d    at    86.      Applying        this    well-established

principle, courts have consistently refused to vacate a wide range

of   damages    awarded      by    arbitrators,       including       attorneys’      and

arbitrator’s fees, see id., expectancy damages, see Westerbeke,

304 F.3d at 220, and even damages that purportedly violated a

“limitation-on-damages            provision”     in    the     relevant      agreement,

Sutherland Glob. Servs, Inc. v. Adam Techs. Int’l SA de C.V., 639

F. App’x 697, 700 (2d Cir. 2016).                 In these cases, the damages

award   was    deemed    permissible        because    the     parties’      agreements

vested broad discretion in the arbitrators and nothing in them

expressly precluded the type of damages that the arbitrators

ordered.      As the Second Circuit summarized, “parties who wish to

limit the scope of an arbitrator’s [available remedies]” must

“explicitly     and     clearly     state    that     intent    as    part    of   their

agreement to arbitrate.”           ReliaStar, 564 F.3d at 88.


      Here, the parties’ arbitration agreement is expansive and

nothing in it expressly precludes the type of equitable damages


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the Panel awarded.      The parties’ agreement provides that “[a]ny

and all disputes between Provider and Caremark . . . including but

not limited to, disputes in connection with, arising out of, or

relating in any way to, the Provider Agreement or to Provider’s

participation in one or more Caremark networks” must be submitted

to   binding   arbitration    “pursuant     to   the   then   applicable      AAA

Commercial Arbitration Rules and Mediation Procedures.”                 Diskin

Decl., Ex. 14-C § 15.09 (“Arbitration Agreement”).                 This is a

paradigmatic “broad” arbitration agreement.               See Ross v. Am.

Express Co., 547 F.3d 137, 139 (2d Cir. 2008) (holding arbitration

clause providing that “[a]ny dispute, claim, or controversy . . .

arising out of or relating to this Agreement” must be settled in

an arbitral forum was broad).       Moreover, under AAA Rule 47, which

was incorporated into the parties’ agreement, arbitrators are

authorized to “grant any relief that the arbitrator deems just and

equitable and within the scope of the agreement of the parties.”

Diskin Decl., Ex. 28.         Between the parties’ broad arbitration

agreement and the agreement’s incorporation of Rule 47, there is

little doubt the Panel had ample “discretion to order such remedies

as [it] deem[ed] appropriate.”       ReliaStar, 564 F.3d at 86.


      In addition to vesting the Panel such discretion, nothing in

the parties’ agreement, expressly or otherwise, limited the Panel



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from awarding the equitable relief it did.              Indeed, the only

remedies   the   agreement    explicitly    prohibits       are   “indirect,

consequential, or special damages of any nature (even if informed

of their possibility), lost profits or savings, punitive damages,

injury to reputation, or loss of customers or business, except as

required by Law.”      Arbitration Agreement.         Petitioners do not

advance any argument, nor could they, that this language precluded

the Panel from awarding NYCBS the relief it did.             Therefore, the

Panel was acting safely within the bounds of its authority when it

awarded NYCBS the full amount of PNR fees it had paid.


     To resist this conclusion, petitioners chiefly argue that the

Panel exceeded its authority because it “effectively deleted” the

provision in the parties’ agreement requiring NYCBS to pay a

minimum PNR fee.    Pet. at 13.    However, petitioners misunderstand

the applicable standard.        As discussed, the only question is

whether    the   parties’    arbitration   agreement        authorized      the

arbitrators to award the type of disputed damages generally,

Westerbeke, 304 F.3d at 220, not whether the Panel’s specific

decision was at odds with other provisions in the agreement, Stolt-

Nielsen S.A., 559 U.S. at 671 (“It is not enough . . . to show

that the panel committed an error -- or even a serious error.”).

At bottom, what petitioners really contest is not whether the Panel



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had authority to award equitable relief but whether it correctly

determined the damages on the specific facts at hand.            This is not

a ground for vacatur, Westerbeke, 304 F.3d at 220, and petitioners’

argument has been expressly rejected by other courts that refused

to vacate similar arbitration awards against Caremark, see Mission

Wellness Pharmacy LLC v. Caremark LLC, 2023 WL 4136606 (D. Ariz.

June 23, 2023); Caremark LLC v. AIDS Healthcare Found., 2022 WL

4267791 (D. Ariz. Sept. 15, 2022).         For these reasons, the Panel

did not exceed its authority in granting NYCBS the damages it did.


  2. Arbitral Decision Against Public Policy


     In addition to the express statutory grounds found in § 10(a)

of the FAA, a party may seek to vacate an arbitral award because

it is contrary to public policy.         See Misco, 484 U.S. at 42-43.

The public policy exception is “extremely limited,” however, and

the party moving to vacate must establish its existence.                Local

97, Int’l Bhd. Of Elec. Workers, A.F.L.-C.I.O. v. Niagara Mohawk

Power Corp., 196 F.3d 117, 125 (2d Cir. 1999).         A reviewing court’s

authority to vacate on public policy grounds is restricted to

“situations where the contract as interpreted would violate some

explicit public policy that is well defined and dominant, and is

to be ascertained by reference to the laws and legal precedents




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and not from general considerations of supposed public interests.”

Misco, 484 U.S. at 43 (quotations omitted).


       Here, petitioners argue that the Panel disregarded both CMS

and    New    York   State     Education       Department        (the    “Education

Department”) regulations by ruling that NYCBS is a “pharmacy”

covered by the AWPL.      Pet. at 15.         By way of context, the AWPL is

a federal statute that requires Part D prescription drug plans to

“permit the participation of any pharmacy that meets the terms and

conditions under the plan.”            42 U.S.C. § 1395w-104(b)(1)(A).             In

the arbitration, NYCBS’s AWPL claim was based largely on Caremark’s

alleged violation of an AWPL regulation, which provides that

contracts between CMS and Plan Sponsors must “have a standard

contract with reasonable and relevant terms and conditions of

participation whereby any willing pharmacy may access the standard

contract     and   participate    as    a   network    pharmacy.”         42   C.F.R.

§ 423.505(b)(18).        Before    the      Panel,    petitioners       argued    that

because NYCBS is a “dispensing physician” rather than a “pharmacy,”

it could not assert an AWPL claim.              Order No. 7 at 4.          However,

the Panel rejected that argument in its preliminary Order No. 7,

holding that NYCBS is properly “defined as a pharmacy within the

meaning of the AWPL,” id. at 6, and stating in its subsequent

interim award that it “sees no reason to revisit its earlier



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determination,” Interim Award at 10.               Petitioners contend that

this ruling contravenes both federal and state regulations.                      See

Pet. at 15-18.       However, for the following reasons, we disagree

and reject petitioners’ argument.


                 a. Federal Regulation


     Petitioners first claim that CMS “has explicitly recognized”

that AWPL does not apply to dispensing practitioners like NYCBS

and that by holding otherwise, the Panel violated public policy.

Pet. at 16-17.   However, far from establishing a “well defined and

dominant”   public     policy   that    the    Panel   purportedly     violated,

Misco, 484 U.S. at 43, the authorities that petitioners cite in

support   of   their    argument    only      highlight    the   ambiguity       and

uncertainty around whether a dispensing practitioner can be deemed

a “pharmacy.”     Petitioners first cite a 2017 letter from CMS’s

chief administrator, which provides:

     While Part D sponsors are only required to contract with
     pharmacies, we are aware that some Part D sponsors have
     contracts with physician practices, including oncology
     practices, that are authorized by States to dispense
     prescription drugs. Current guidance is silent on the issue
     of inclusion of non-pharmacy dispensing sites in Part D
     networks.    In light of changes to the pharmaceutical
     dispensing and distribution landscape since the inception of
     the Part D program, CMS is currently evaluating the role of
     non-pharmacy dispensing sites in the Medicare Part D program
     and is committed to working with stakeholders as we consider



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      any possible changes to the existing regulations or guidance
      going forward.

Diskin Decl., Ex. 29.      Even assuming this letter has anything more

than mere persuasive value, the statement that “[c]urrent guidance

is   silent”   on   this      issue     directly   undercuts      petitioners’

contention that CMS has “explicitly recognized” that AWPL does not

apply to dispensing practitioners like NYCBS.             Moreover, that CMS

acknowledged it was in the process of re-evaluating existing Part

D regulations only underscores that this question -- whether

dispensaries like NYCBS constitute a pharmacy -- was and remains

in a state of flux and thus precludes any inference that CMS had

embraced a “well defined and dominant” public policy that the Panel

violated.   Misco, 484 U.S. at 43.


      Petitioners next rely on CMS statements in a 2018 final rule

in which CMS declined to issue any rules in response to comments

requesting that it “expand [its] definition of ‘network pharmacy’

and interpretation of ‘any willing pharmacy’ to include dispensing

physicians.”    Pet. at 17 (quoting 83 Fed. Reg. 16440-01 at 16593).

However, after placing CMS’s statement in the broader context of

the rule, it becomes clear that CMS did not intend to make any

sweeping change to its treatment of dispensing providers in the

Medicare Part D landscape.            See Rock of Ages Corp. v. Sec’y of

Labor, 170 F.3d 148, 155 (2d Cir. 1999) (stating that in construing


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a statute or regulation, we must “read that statute or regulation

as a whole”).         To the contrary, the relevant part of the rule

petitioners cite was strictly and expressly limited to addressing

the definitions of “retail pharmacy” and “mail-order pharmacy.”

See 83 Fed. Reg. 16440-01 at 16592.                Indeed, in response to the

comments requesting clarification on whether dispensing physicians

could be characterized as pharmacies, CMS stated that such comments

“are outside the scope of this rule.”                 Id. at 16593.         Therefore,

in deeming NYCBS a pharmacy for purposes of the AWPL, the Panel

did not violate any federal regulation warranting vacatur.


                     b. New York Regulation


        Petitioners separately argue that the Panel violated the New

York     Education    Department’s      regulatory      authority        because      the

Medicare statute defers to individual states on licensing issues,

42   U.S.C.     §    1395w-112(g)     (incorporating         42    U.S.C.     § 1395w-

26(b)(3)),     and    New   York    state   does      not   recognize       dispensing

practitioners like NYCBS as pharmacies, Pet. at 17-18.                      To support

this contention, petitioners rely almost exclusively on arguments

made by the Education Department in its ongoing litigation against

NYCBS relating to Medicaid reimbursements.                  See id.    Specifically,

the Education Department has asserted in that case that “[a]

practitioner        who   dispenses     drugs    to    their      patients     is     not


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considered      a      pharmacy      under      statutory         and      enrollment

requirements.”       Diskin Decl., Ex. 31 at 5.               However, there are

several obvious flaws in petitioners’ reliance on statements made

in that and other litigations.

      First, the Education Department litigation involves Medicaid,

not Medicare, which is the only program at issue here.                       See ECF

No. 46 (“Reply Br.”) at 5.           To be sure, petitioners contend that

NYCBS’s license status “is the same regardless of whether it

dispenses drugs for Medicaid or Medicare beneficiaries.” Id. Even

still, petitioners have not explained how New York’s licensing

regime interacts with administration of Medicare Part D, which is

governed   by   CMS.      Moreover,      given    that      Caremark    itself      has

continued to treat dispensing practices as pharmacies for purposes

of Part D participation “[b]ased on ongoing dialogue with CMS,”

the federal authority, it would appear that Caremark adheres to

CMS’s definitions rather than any definition set forth by New

York’s State Education Department. 7            Levitt Decl., Ex. F.

      Second, and more importantly, the representations on which

petitioners     rely    were   almost    all    made   by    New    York    state    in

submissions     in   an   ongoing     litigation.        Pet.      at   17-18.      As


7 For these reasons, the Court is unpersuaded by purported admissions NYCBS has
made here and in other litigations that it is not a “licensed pharmacy” under
New York law. Reply Br. at 5.


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discussed, an arbitrator’s award is vacated only if it violates

some “explicit public policy” that is “ascertained by reference to

the laws and legal precedents.”          Misco, 484 U.S. at 43 (emphasis

added).    Assertions made in complaints and legal briefs can hardly

be considered “laws and legal precedents” that form the basis of

a well-defined public policy.        If anything, the ongoing litigation

between NYCBS and the Education Department relied on by petitioners

is further evidence that a dispensing physician’s place in the

Medicare Part D framework remains unsettled and disputed.

     In addition to these points, it bears mentioning that New

York law expressly permits oncologists to dispense drugs.                      N.Y.

Educ. L. § 6807(2)(a)(9).           Although that still may not qualify

NYCBS as a pharmacy under statutory requirements, see Reply Br. at

5, oncologists’ ability to dispense drugs under New York law may

explain why Caremark has permitted NYCBS to participate in its

pharmacy networks for nearly a decade. Indeed, the Panel’s finding

that NYCBS was a pharmacy for purposes of the AWPL was based in

part upon contract documents showing that Caremark “consistently

referred    to   [NYCBS]   as   a   ‘pharmacy.’”       Order    No.   7   at    4.

Ultimately, it was the “relationship of the parties here” that led

the Panel to conclude that NYCBS “should be defined as a pharmacy

within the meaning of the AWPL.”              Id. at 6.        In making that



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determination, for the reasons discussed above, the Panel did not

violate “well defined and dominant” public policy -- at the federal

or state level -- that could be ascertained by reference to “laws

and legal precedents.”          Misco, 484 U.S. at 43.       Therefore, we deny

petitioners’ request for vacatur on public policy grounds.


  3. “Manifest Disregard” of the Law


        Finally, in addition to the express statutory grounds found

in § 10(a) of the FAA and the violation of public policy, there is

an implied basis for vacatur where an arbitrator’s award is in

“manifest disregard” of the applicable law.                Duferco, 333 F.3d at

388-89.      However, this is a “doctrine of last resort.”                  Id. at

389.     Arbitral awards are vacated on this basis only in “those

exceedingly rare instances where some egregious impropriety on the

part of the arbitrators is apparent.”                Id.   To determine whether

such impropriety is apparent, the Second Circuit engages in a

multi-step analysis.        First, the reviewing court must find that

the arbitrator ignored clearly defined law that was “in fact

explicitly applicable to the matter before” him.                 T.Co Metals, 592

F.3d at 339.        “[M]isapplication of an ambiguous law does not

constitute manifest disregard.”          Id.    Second, the court must find

that the applicable law was “in fact ignored or improperly applied,

leading to an erroneous outcome.”              Id.    “Even where explanation


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for an award is deficient or non-existent, we will confirm it if

a justifiable ground for the decision can be inferred from the

facts of the case.”       Id.    Under this analysis, the court may not

vacate an arbitration award based on a “simple error in law or a

failure by the arbitrator[] to understand or apply it” but rather

only when the arbitrator “intentionally defied the law.”                   Duferco,

333 F.3d at 389, 393.


        Petitioners contend that the Panel manifestly disregarded the

law by (1) ruling that NYCBS’s AWPL claim had merit; (2) ruling

that NYCBS prevailed on both its breach of contract and unjust

enrichment claims; (3) awarding NYCBS “windfall damages”; and (4)

consolidating the claims of multiple NYCBS dispensaries into a

single arbitration proceeding.             Pet. at 19-24.          Each of these

arguments will be addressed in turn.


                   a. AWPL Claim


        Petitioners’    argument     regarding    the    AWPL     claim   comes   in

several subparts.       As a threshold matter, petitioners contend that

the Panel disregarded the law when it concluded that NYCBS is a

“pharmacy” within the meaning of the AWPL.                Pet. at 23.      For the

same    reasons   set   forth   in   our   discussion      above    in    rejecting

petitioners’ public policy argument, that argument lacks merit.



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       Next, petitioners assert that the Panel disregarded both

Arizona and New York law by allowing NYCBS to proceed with a breach

of contract claim based on an alleged violation of the AWPL, a

federal law that provides no private cause of action.                      Pet. at 19-

20.    In reaching this conclusion, the Panel relied on Trone Health

Services, Inc. v. Express Scripts Holding Co., 974 F.3d 845 (8th

Cir. 2020).      In Trone, the Eighth Circuit concluded that plaintiff

pharmacies       could   base    their    breach    of    contract        claims   on   a

violation of Health Insurance Portability and Accountability Act

of 1996 (“HIPAA”) even though HIPAA lacked a private right of

action.      Id. at 851-52.             The Panel was persuaded by Trone’s

reasoning that a contrary holding “would require adopting the novel

presumption that where Congress provides no remedy under federal

law, state law may not afford one in its stead.”                      Order No. 7 at

6 (quoting Trone, 974 F.3d at 851 n.4).


       Petitioners assert that the Panel erred in following Trone

because that case is “distinguishable” in that in Trone, HIPAA was

“directly referenced” in the parties’ contract, whereas here, the

AWPL is not.      Pet. at 20.      As a factual matter, that does not seem

to    be   the   case.        Indeed,   according    to   the       Panel,   “Caremark

concede[d]       that    it    follows    the    AWPL     based      on    contractual

obligations to its plan sponsor clients, including Silverscript



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and Aetna.”      Order No. 7 at 4; see also id. at 6 (finding that

“Caremark is contractually bound to follow the AWPL.”).                 Pursuant

to applicable regulations, moreover, entities including Caremark

are required to “specify” in “[e]ach and every contract” that they

“must comply with all applicable Federal laws, regulations, and

CMS     instructions,”      42     C.F.R.      § 423.505(i)(3)(iv),        which

necessarily encompasses the AWPL, suggesting that the AWPL, like

HIPAA in Trone, was directly referenced in the parties’ agreement.


       Regardless of whether Trone is factually distinguishable on

this basis, as a legal matter, the direct reference to HIPAA had

little, if any, impact on the Eighth Circuit’s holding in Trone.

As discussed above, what motivated the Eighth Circuit’s decision

was not the specific language of the parties’ contract but rather

the   concern   that   a   contrary    outcome    would    entirely     preclude

plaintiffs from seeking relief whenever Congress does not provide

a remedy under federal law.         See Trone, 974 F.3d at 851 n.4.             The

Panel’s conclusion was similarly animated by this precise concern,

and therefore we cannot say that the Panel erred in relying on the

Eighth Circuit’s decision in Trone.


       However, even if we were to agree with petitioners that the

Panel’s misread Trone, that would still be insufficient to vacate

the Panel’s award.         As noted, it is well-established that “the


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interpretations of the law by the arbitrators in contrast to

manifest disregard are not subject, in the federal courts, to

judicial review for error in interpretation.”                 Duferco, 333 F.3d

at 388 (emphasis omitted).           Accordingly, courts have refused to

find     a   manifest    disregard    of   law   even    where      an   arbitrator

“misread[] or overlook[ed]” case law precedent, Carte Blanche

(Singapore) Pte., Ltd. v. Carte Blanche Int’l, Ltd., 888 F.2d 260,

268 (2d Cir. 1989), and where an arbitrator arguably “erred in

resolving [] conflicting precedent,” Goldman Architectural Iron

Co., 306 F.3d 1214, 1217 (2d Cir. 2002).            Thus, the Court certainly

cannot conclude that the Panel manifestly disregarded the law

simply by relying on the Eighth Circuit’s decision in Trone.


        In addition to their Trone argument, petitioners claim that

New York and Arizona law “expressly prohibit common-law claims

based on the violation of statutes containing no private rights of

action.”      Pet. at 20-21 (citing cases).             However, petitioners’

reliance on a smattering of cases involving disparate federal

statutes,      none     of   which   involve     the    specific     statute       (or

regulation) at issue here, is simply not enough to demonstrate

that the Panel ignored clearly defined law that was “in fact

explicitly applicable to the matter before” it.                   T.Co Metals, 592




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F.3d at 339.         As such, petitioners’ AWPL private right of action

argument fails.


       The final subset of petitioners’ argument regarding the AWPL

claim centers on the Medicare Act’s noninterference clause. 8                          Pet.

at 21-23.       The noninterference clause provides that Human and

Health      Services    (“HHS”)     and   CMS    “may    not     interfere      with    the

negotiations between drug manufacturers and pharmacies and PDP

sponsors.”      42 U.S.C. § 1395w-111(i)(1).              In the arbitration, the

parties vigorously disputed the impact of the noninterference

clause and its interplay with the AWPL.                    On the one hand, NYCBS

argued that the noninterference clause does not prevent CMS from

requiring,      by    way    of   the   AWPL,    that    reimbursement        rates     are

“reasonable and relevant.”              See Order No. 7 at 5.            On the other

hand, petitioners argued that this interpretation renders the

noninterference        clause      “a   nullity”    --     the    AWPL    may    require

“reasonable and relevant” terms and conditions to ensure access,

but    it     does     not    require     such     terms       and   conditions         for

reimbursement. Diskin Decl., Ex. 24 at 7.                   Ultimately, the Panel

“disagree[d]         with    [petitioners’]      interpretation          of   the      Non-



8 As petitioners note, in 2022, Congress passed the Inflation Reduction Act,
which modified the noninterference clause, but those changes do not affect the
analysis here given the time frame at issue in the arbitration. See Pet. at 21
n.1.


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Interference Clause and [found] that there is an obligation under

the AWPL to provide ‘reasonable and relevant’ terms and conditions

to providers.”     Order No. 7 at 6.


     Petitioners assert that this ruling constitutes a manifest

disregard   of   the   law.   Pet.    at    21-23.     In      support   of     this

contention, petitioners largely rehash the same arguments about

the noninterference clause that they made to the Panel.                  Compare

Diskin Decl., Ex. 24 at 7-8, with Pet. at 21-23.                   For example,

petitioners cite HHS and CMS comments in final rules stating that

neither agency has the “authority to . . . mandate that Part D

plans negotiate the same, or similar reimbursement rates with all

pharmacies,” 70 Fed. Reg. 4194-01 at 4255, or to serve as “the

arbiter of the adequacy of reimbursement methodologies,” 79 Fed.

Reg. 29844-01 at 29876. If these were the only relevant statements

HHS and CMS had ever made on this issue, then petitioners might

satisfy the first prong of the manifest disregard test: that the

law that was purportedly ignored was “clear.”                  T.Co Metals, 592

F.3d at 339.     However, that is not the full story.


     On the other side of the ledger, as NYCBS pointed out in the

arbitration and does so again now, CMS itself has said that the

noninterference clause does not prevent it from “requir[ing] the

inclusion of terms and conditions in agreements when necessary to


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implement requirements under the Act.”             79 Fed. Reg. 1918-01 at

1971.   As CMS explained in that same regulation, Congress charged

CMS with enforcing numerous contractual requirements, including,

but not limited to, “[i]nterpretation of what ‘access to negotiated

prices’ means, any-willing-pharmacy standard terms and conditions,

prohibition on any requirement to accept insurance risk, prompt

payment, and payment standard update requirements.”            Id. (emphasis

added).    According to NYCBS, this presumably comprises the ability

to require “reasonable and relevant” reimbursement rates.                 ECF No.

38 (“Opp.”) at 19-20; Order No. 7 at 5.


     The Court certainly recognizes the possible tension between

NYCBS’s position, which the Panel adopted, and the language and

purpose of the noninterference clause.             However, the citations

relied on by NYCBS demonstrate that there is far more than merely

a “barely colorable justification” for the outcome the Panel

reached.     T.Co   Metals,   592   F.3d    at   339.     Under     the   highly

deferential “manifest disregard” standard, that is all that is

required to avoid vacating the Panel’s award.             See id.


     Petitioners    further     suggest     that    the   Panel     manifestly

disregarded the law by holding petitioners liable for violating

the AWPL because “HHS and CMS are ultimately responsible for




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enforcing the AWPL.” 9     Pet. at 22.       For support, petitioners cite

two CMS rules, the first of which states, in response to comments

about the “reasonable and relevant” standard, that CMS “reserve[s]

the right to review all contracting terms and conditions and

investigate complaints regarding compliance with [its] rules.”

Id. (quoting 83 Fed. Reg. 16440-01 at 16592).            In the second rule,

CMS explained that “Part D sponsors and pharmacies do not have the

sole discretion to interpret,” among other things, “any-willing-

pharmacy standard terms and conditions.”              Id. (quoting 79 Fed.

Reg. 29844-01 at 29874).       Even taken together, these statements by

CMS do not say nearly as much as petitioners claim they do.

Essentially, they provide that while Plan Sponsors and providers

are free to negotiate and interpret the terms of their contracts,

CMS    retains   the   ultimate   authority      to   review    those    terms,

investigate complaints, and enforce the relevant requirements.

This is entirely consistent with other CMS guidance cited by NYCBS,

which provides that “whether a Part D sponsor has permitted a

pharmacy an opportunity to participate in its network” pursuant to

reasonable and relevant terms and conditions is a “fact-specific

question[] that [is] generally best left between the parties.”



9 In their reply brief, petitioners make a cursory reference to preemption.
Reply Br. at 9. Because that argument was raised for the first time on reply,
and is not fully fleshed out, the Court will not consider it.


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Levitt Decl., Ex. G at 6.       Thus, on this issue, too, the Panel had

much more than a “colorable justification” for the outcome it

reached.   T.Co Metals, 592 F.3d at 339.           Accordingly, for these

reasons, we reject petitioners’ arguments regarding the manifest

disregard of any law relating to the AWPL claim.


                 b. Unjust Enrichment


     Next, petitioners argue that the Panel manifestly disregarded

the law by ruling that NYCBS prevailed on both its breach of

contract   and   unjust   enrichment    claims.       See     Pet.   at   23-24.

Petitioners cite several cases, under both New York and Arizona

law, standing for the proposition that the existence of a contract

precludes a claim of unjust enrichment.           See id. (citing cases).

Faced with the same argument, the Panel explained that:


     While unjust enrichment cannot be used to contradict the
     express terms of a contract, it can be used to provide
     restitution where there is a showing that [petitioners were]
     enriched at NYCBS’s expense through the operation of some
     unjust factor such as mistake, duress, misrepresentation, or
     failure of consideration. Given Caremark’s conduct, two such
     unjust    factors    are   operative    on   these    facts:
     misrepresentation and failure of consideration.

Interim Award at 28.         On this basis, as discussed earlier, the

Panel awarded “restitution to NYCBS of the full amount of the PNR

fees assessed by [petitioners].”        Id. at 30.       Although the Panel




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may have blurred legal concepts, the thrust of its holding was

entirely supported by both New York and Arizona law.


      At the outset, petitioners are correct that the existence of

a   written    agreement       generally    precludes      a     claim    of   unjust

enrichment.      See Petrello v. White, 412 F. Supp. 2d 215, 233

(E.D.N.Y. 2006) (“New York Courts and the Second Circuit have

consistently    held    that     the    existence     of   a    written    agreement

precludes a finding of unjust enrichment.” (quotations omitted));

Brooks v. Valley Nat’l Bank, 548 P.2d 1166, 1171 (Ariz. 1976)

(“[W]here     there    is   a    specific       contract       which   governs       the

relationship of the parties, the doctrine of unjust enrichment has

no application.”).


      That    said,    while    a   claim    of   unjust       enrichment      may    be

unavailable where a contract exists, the remedy of rescission is

available despite the existence of a contract, albeit in limited

circumstances.        See Septembertide Publ’g, B.V. v. Stein & Day,

Inc., 884 F.2d 675, 678 (2d Cir. 1989); Cnty. of La Paz v. Yakima

Compost Co., Inc., 233 P.3d 1169, 1189 (Ariz. Ct. App. 2010)

(explaining rescission is among the “remedies [that] are available

for a breach of contract”).            These circumstances include “fraud in

the inducement of the contract; failure of consideration; an

inability to perform the contract after it is made; or a breach in


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the contract which substantially defeats the purpose thereof.”

New Paradigm Software Corp. v. New Era of Networks, Inc., 107 F.

Supp. 2d 325, 329 (S.D.N.Y. 2000) (quotations omitted). 10                        In

addition, “it is well-settled that rescission is an equitable

remedy which will not be granted unless Plaintiffs lack an adequate

remedy at law.”        Id.; see also Standard Chartered PLC v. Price

Waterhouse, 945 P.2d 317, 345 (Ariz. Ct. App. 1996) (“Rescission

[is] an equitable remedy.”).        Although rescission is often labeled

as a remedy, it is “less a remedy and more a matter of conceptual

apparatus that leads to the remedy.”           Robinson v. Sanctuary Record

Grps., Ltd., 826 F. Supp. 2d 570, 575 (S.D.N.Y. 2011) (quotations

omitted).       “The effect of rescission is to declare the contract

void from its inception and to put or restore the parties to status

quo.”     Ward v. TheLadders.com, Inc., 3 F. Supp. 3d 151, 165

(S.D.N.Y. 2014) (quotations omitted); see also Standard Chartered,

945     P.2d    at   345.      Therefore,     where   rescission      is   deemed

appropriate, it is often accompanied by restitution damages.                     See

United States ex rel. Taylor v. Gabelli, No. 03 Civ. 8762, 2005 WL



10 Similarly,under Arizona law, “[r]escission will almost certainly be available
when the claimant seeks to escape from an agreement that was induced by the
other party’s fraud or wrongdoing.” Tempe Woman’s Club v. Loren, No. 1 CA-CV
22-0743, 2024 WL 244441, at *3 (Ariz. Ct. App. Jan. 23, 2024) (quoting
Restatement (Third) of Restitution and Unjust Enrichment § 54, cmt. b (2011)).
Moreover, “rescission is justified where a failure of consideration of an
essential part of a contract exists.” Hall v. Read Development, Inc., 274 P.3d
1211, 1219 (Ariz. Ct. App. 2012).


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2978921, at *5 n.10 (S.D.N.Y. Nov. 4, 2005) (citing Dobbs, Law of

Remedies: Damages, Equity, Restitution § 4.3(6) (2d ed. 1993)).


      In    addition     to     the   situations        where     rescission       is

appropriate,      restitution     damages       are   also   available       “as   an

equitable remedy for repudiation or total breach of a contract.”

Summit Props. Int’l, LLC v. Ladies Prof’l Golf Ass’n, No. 07 Civ.

10407 (LBS), 2010 WL 4983179, at *3 (S.D.N.Y. Dec. 6, 2010); see

also Restatement (Second) of Contracts § 373(1) (1981) (“[A] breach

by non-performance that gives rise to a claim for damages for total

breach or on a repudiation, the injured party is entitled to

restitution for any benefit that he has conferred on the other

party by way of part performance or reliance.”); see Seitz v.

Indus. Comm’n of Ariz., 911 P.2d 605, 609 (Ariz. Ct. App. 1995)

(stating that both rescission and restitution require a “vital

breach     of   contract,      representing      a    substantial        failure   of

consideration” (quotations omitted)).


      Against this backdrop, it is evident that the Panel was acting

in accordance with -- not in manifest disregard of -- both New

York and Arizona law, in aiming to restore NYCBS to the position

it   was   in   prior   to    entering    the   agreement    with    petitioners.

Indeed, the Panel concluded (and petitioners do not currently

dispute)        that    petitioners        induced      NYCBS       by     way     of


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misrepresentations    and    failed   to   deliver     any    bargained-for

consideration, thereby “eviscerat[ing] the very foundation of the

contract.” Interim Award at 29. Furthermore, the Panel determined

(and again petitioners do not contest) that the “only” adequate

remedy for NYCBS was a “full return of the wrongfully assessed PNR

fees.”   Id. at 31.   Whether viewed as rescission based on fraud in

the inducement and failure of consideration or as a total breach

of the parties’ contract, New York and Arizona law clearly permit

an award of restitution in such circumstances.                Therefore, we

cannot conclude that the Panel manifestly disregarded the law by

granting NYCBS the full measure of PNR fees.         See T.Co Metals, 592

F.3d at 339 (“Even where explanation for an award is deficient or

non-existent, we will confirm it if a justifiable ground for the

decision can be inferred from the facts of the case.”).


                c. Windfall Damages


     Petitioners next argue that the Panel manifestly disregarded

the law by awarding windfall damages.         Pet. at 24.        However, we

reject this argument for the same reasons we found that the damages

award did not constitute a violation of the Panel’s authority.




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                   d. Consolidation


        The final argument petitioners advance is that the Panel

manifestly disregarded the law by consolidating the claims of

multiple NYCBS dispensaries into a single arbitration proceeding,

in violation of the arbitration agreement’s anti-consolidation

clause.    Pet. at 24-25.      That clause provides, in relevant part,

that:


       [a]ll disputes are subject to arbitration on an individual
       basis, not on a class or representative basis, or through any
       form of consolidated proceedings, and the arbitrator(s) will
       not resolve Class Action disputes and will not consolidate
       arbitration proceedings without the express permission of all
       parties to the Provider Agreement.

Arbitration     Agreement.      Based   on   this   provision,     petitioners

argued during the arbitration that NYCBS must identify a single

NYCBS pharmacy to continue this arbitration and that the Panel

should sever and dismiss all other pharmacy claims as impermissibly

consolidated. 11    See Order No. 7 at 11.       After an expedited period

of discovery on this and other issues, see Levitt Decl., Ex. H,

the     Panel   rejected     petitioners’    argument     because     all      the

applicable agreements were signed by the same NYCBS employee and

the various NYCBS locations were not distinct legal entities



11 Presumably, this means that petitioners would have to defend against six
separate but identical arbitration demands.


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capable of suing or being sued, see Order No. 7 at 12.                 Contrary

to petitioners’ contention, the Court does not find the Panel’s

determination to be a manifest disregard of the law.


      As an initial matter, the clear intent of the consolidation

clause is to prohibit class actions and joinder of unrelated

entities in an arbitration.          Simply put, it says nothing about

whether related parties like NYCBS’s various dispensaries can

bring a single action together.          Moreover, each NYCBS dispensing

location is incorporated under the same tax identification number

and has the same contract with Caremark, demonstrating that NYCBS

was properly treated as a single party.            See Diskin Decl., Ex. 12.

As such, the Panel’s interpretation of the consolidation clause is

not only permissible, but it is also correct.


      In   any   event,   the    question     of   whether     to   consolidate

arbitration proceedings is, at its core, an exercise in contract

interpretation. 12    See In re Arbitration Between Coastal Shipping

Ltd. & S. Petroleum Tankers Ltd., 812 F. Supp. 396, 402 (S.D.N.Y.

1993).     This poses an additional obstacle for petitioners, and an




12 This is distinct from the question of whether the court or an arbitrator
should determine the threshold issue of consolidation. See, e.g., Rice Co. v.
Precious Flowers Ltd., No. 12 Civ. 0497 (JMF), 2012 WL 2006149, at *4 (S.D.N.Y.
June 5, 2012) (citing cases). Here, there is no dispute that the Panel -- not
a court -- was empowered to make the consolidation determination.


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insurmountable one at that.           As the Supreme Court has explained,

“[b]ecause the parties have contracted to have disputes settled by

an arbitrator chosen by them rather than by a judge, it is the

arbitrator’s view of the facts and of the meaning of the contract

that they have agreed to accept.”           Misco, 484 U.S. at 37-38.          While

the arbitrator “may not ignore the plain language of the contract,”

a reviewing court “should not reject [the] award on the ground

that the arbitrator misread the contract.”               Id. at 38.        Here, even

if the Panel did misinterpret the consolidation clause, which it

plainly did not, the Court has no authority to second guess the

Panel’s determination in that respect.


        The Court is also not persuaded by petitioners’ argument that

the Panel’s decision was in manifest disregard of the law because

it ignored Lamps Plus, Inc. v. Varela, 587 U.S. 176 (2019),

Weyerhaeuser Co. v. W. Seas Shipping Co., 743 F.2d 635 (9th Cir.

1984), and Marbaker v. Statoil USA Onshore Props., Inc., 801 F.

App’x 56 (3d Cir. 2020).           Pet. at 25.       Petitioners contend that

those     cases    stand    for     the    proposition       that     consolidated

arbitrations must be based on “express contractual authority.”

Id.    However, those cases are readily distinguishable.                   Both Lamps

Plus     and   Marbaker     involve       class    action      proceedings,        and

Weyerhaeuser      was   a   maritime      case     involving       three    separate



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entities, one of which had an indemnification agreement with

another.   Therefore, there was no clearly defined law that was “in

fact explicitly applicable to the matter before” the Panel.                    T.Co

Metals, 592 F.3d at 339.            Even if petitioners were correct that

express authority were required by law, the Court can easily

“infer[]” from the Interim Award that the Panel identified express

authority in the parties’ agreement to consolidate the proceedings

into one arbitration.         Id.     Accordingly, we reject petitioners’

argument that the Panel’s consolidation determination constituted

a manifest disregard of law. 13


B.    Cross-Motion to Confirm


      Finally, we must consider NYCBS’s cross-motion to confirm the

Panel’s award.    Under the FAA, “any party to [an] arbitration may

apply to the court so specified for an order confirming the award,

and thereupon the court must grant such an order unless the award

is vacated, modified, or corrected as prescribed in sections 10

and 11 of this title.”        9 U.S.C. § 9.        “Only a barely colorable

justification    for   the    outcome    reached    by   the   arbitrators       is




13Another district court rejected the same consolidation argument petitioners
advance here. See Caremark LLC v. AIDS Healthcare Found., 2022 WL 4267791, at
*7 (“The Court therefore rejects Caremark’s argument that the arbitrator
manifestly disregarded the law when he resolved the [provider’s] claims in a
single proceeding.”).


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necessary to confirm the award.”           D.H. Blair & Co., Inc. v.

Gottdiener, 462 F.3d 95, 110 (2d Cir. 2006) (quotations omitted).

“Due to the parallel natures of a motion to vacate and a motion to

confirm an arbitration award, denying the former implies granting

the latter.”    First Cap. Real Estate Invs. LLC v. SDDCO Brokerage

Advisors, LLC, 355 F. Supp. 3d 188, 196 (S.D.N.Y. 2019).                     As

explained above, petitioners have not provided any basis on which

to vacate, modify, or correct the Panel’s award, and there is far

more than a colorable justification for the award.                Therefore,

NYCBS’s cross-motion to confirm the award is granted, and the award

is confirmed.


                               CONCLUSION


     For the foregoing reasons, the Court denies petitioners’

petition to vacate, grants NYCBS’s cross-motion, and confirms the

Panel’s arbitration award.       The Clerk of Court is respectfully

directed to terminate the motion pending at ECF No. 16 and close

the case.



     SO ORDERED.

Dated:      New York, New York
            July 15, 2024
                                         ____________________________
                                             NAOMI REICE BUCHWALD
                                         UNITED STATES DISTRICT JUDGE


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